Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 0:21-cv-60825-RUIZ/STRAUSS


   UNITED STATES OF AMERICA,

           Plaintiff,

   v.

   ROGER J. STONE; NYDIA B. STONE, individually
   and as trustee for the Bertran Family Revocable Trust;
   BERTRAN FAMILY REVOCABLE TRUST;
   DRAKE VENTURES LLC; BROWARD COUNTY,
   RUSSELL HARRIS; GALLERIA LOFTS
   CONDOMINIUM ASSOCIATION, INC.; and
   GALLERIA LOFTS LLC.

         Defendants.
   ___________________________________________/

              BROWARD COUNTY’S ANSWER AND AFFIRMATIVE DEFENSES
                         TO PLAINTIFF’S COMPLAINT

         Broward County (the “County”), a political subdivision of the state of Florida, pursuant to

  Rule 8 of the Federal Rules of Civil Procedure, hereby answers the allegations of the Complaint

  filed by the United States of America. The numbered paragraphs of this Answer correspond to the

  numbered paragraphs of the Complaint.

                                                ANSWER

         1.      The County admits the allegation in paragraph 1 of the complaint in that the County

  has an interest in the Stone Residence pursuant to section 197.122(1), Florida Statutes. The County

  is without knowledge sufficient to form a belief as to the truth of the remaining allegations in

  paragraph 1, and they are therefore denied.

         2.      The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 2, and they are therefore denied.

         3.      The County admits the allegations in paragraph 3.

                                                   1
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 2 of 10




         4.      The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 4, and they are therefore denied.

         5.      The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 5, and they are therefore denied.

         6.      The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 6, and they are therefore denied.

         7.      The County admits the allegations in paragraph 7.

         8.      The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 8, and they are therefore denied.

         9.      The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 9, and they are therefore denied.

         10.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 10, and they are therefore denied.

         11.     The County admits that the property described in the Complaint as the “Stone

  Residence” is within the Southern District of Florida and that venue is proper in the district. The

  County is without knowledge sufficient to form a belief as to the truth of the balance of the

  allegations in paragraph 11, and they are therefore denied.

                                 COUNT I: FEDERAL INCOME TAXES
                                      (Roger and Nydia Stone)

         12.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 12, they are therefore denied.

         13.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 13, they are therefore denied.

         14.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 14, they are therefore denied.
                                                   2
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 3 of 10




          15.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 15, they are therefore denied.

          16.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 16, they are therefore denied.

          17.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 17, and they are therefore denied.

          18.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 18, and they are therefore denied.

                                COUNT II: FEDERAL INCOME TAXES
                                           (Roger Stone)

          19.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 19, and they are therefore denied.

          20.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 20, and they are therefore denied.

          21.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 21, and they are therefore denied.

          22.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 22, and they are therefore denied.

                                   COUNT III: ALTER EGO LIABILITY
                                           (Drake Ventures)

          23.     The County incorporates by reference its responses to paragraphs 1 through 22 as

  if fully set forth here.

          24.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 24, and they are therefore denied.



                                                   3
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 4 of 10




         25.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 25, and they are therefore denied.

         26.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 26, and they are therefore denied.

         27.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 27, and they are therefore denied.

         28.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 28, and they are therefore denied.

         29.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 29, and they are therefore denied.

         30.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 30, and they are therefore denied.

         31.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 31, and they are therefore denied.

         32.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 32, and they are therefore denied.

         33.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 33, and they are therefore denied.

         34.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 34, and they are therefore denied.

         35.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 35, and they are therefore denied.

         36.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 36, and they are therefore denied.

                                                  4
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 5 of 10




         37.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 37, and they are therefore denied.

         38.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 38, and they are therefore denied.

                                 COUNT IV: FRAUDULENT TRANSFER
                                     (Transfer to Bertran Trust)

         39.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 39, and they are therefore denied.

         40.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 40, and they are therefore denied.

         41.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 41, and they are therefore denied.

         42.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 42, and they are therefore denied.

         43.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 43, and they are therefore denied.

         44.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 44, and they are therefore denied.

         45.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 45, and they are therefore denied.

         46.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 46, and they are therefore denied.

         47.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 47, and they are therefore denied.


                                                  5
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 6 of 10




         48.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 48, and they are therefore denied.

         49.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 49, and they are therefore denied.

         50.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 50, and they are therefore denied.

         51.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 51, and they are therefore denied.

         52.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 52, and they are therefore denied.

         53.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 53 (nor any subparagraph thereof), and they are therefore denied.

         54.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 54, and they are therefore denied.

         55.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 55, and they are therefore denied.

                                     COUNT V: NOMINEE LIABILITY
                                            (Bertran Trust)

         56.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 56, and they are therefore denied.

         57.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 57, and they are therefore denied.

         58.     The County admits that instrument no. 115701333 in the Official Records of

  Broward County is labeled as a Certificate of Trust and that this instrument states that the property

  described in the Complaint as the Stone Residence is the homestead of Nydia Stone. The County
                                                 6
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 7 of 10




  is without knowledge sufficient to form a belief as to the truth of the balance of the allegations in

  paragraph 58, and they are therefore denied.

          59.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 59, and they are therefore denied.

          60.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 60, and they are therefore denied.

          61.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 61, and they are therefore denied.

          62.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 62, and they are therefore denied.

                   COUNT VI: DECLARATORY JUDGMENT – FEDERAL TAX LIENS
                                      (All Defendants)

          63.     The County incorporates by reference its responses to paragraphs 1 through 62 as

  if fully set forth here.

          64.     The County admits that the United States seeks declaratory judgment as stated in

  paragraph 64. The County is without knowledge sufficient to form a belief as to the truth of the

  balance of the allegations in paragraph 64, and they are therefore denied.

          65.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 65, and they are therefore denied.

          66.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 66, and they are therefore denied.

          67.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 67, and they are therefore denied.

          68.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 68, and they are therefore denied.
                                                   7
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 8 of 10




         69.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 69, and they are therefore denied.

         70.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 70, and they are therefore denied.

         71.     The County is without knowledge sufficient to form a belief as to the truth of the

  allegations in paragraph 71, and they are therefore denied.

         72.     The County admits that the United States recorded the instruments listed in

  paragraph 72 in the Official Records of Broward County, but the County is without knowledge

  sufficient to form a belief as to the truth of the statements contained in those instruments. The

  County denies that the instruments were filed with the Broward County Clerk of Court because

  the County, and not the Clerk of Court, is the custodian of the Official Records of Broward County.

  The County is without knowledge sufficient to form a belief as to the truth of the balance of the

  allegations in paragraph 72, and they are therefore denied.

         73.     The County admits that the United States recorded the instruments mentioned in

  paragraph 73 in the Official Records of Broward County, but the County is without knowledge

  sufficient to form a belief as to the truth of the statements contained in those instruments. The

  County is without knowledge sufficient to form a belief as to the truth of the balance of the

  allegations in paragraph 73, and they are therefore denied.

         74.     The County admits that the United States recorded the instruments mentioned in

  paragraph 74 in the Official Records of Broward County, but the County is without knowledge

  sufficient to form a belief as to the truth of the statements contained in those instruments. The

  County is without knowledge sufficient to form a belief as to the truth of the balance of the

  allegations in paragraph 74, and they are therefore denied.




                                                  8
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 9 of 10




         75.     The County admits that the United States recorded the instruments mentioned in

  paragraph 75 in the Official Records of Broward County, but the County is without knowledge

  sufficient to form a belief as to the truth of the statements contained in those instruments. The

  County is without knowledge sufficient to form a belief as to the truth of the balance of the

  allegations in paragraph 75, and they are therefore denied.

                                     AFFIRMATIVE DEFENSE

         Any lien the United States may possess in the property described in the Complaint as the

  Stone Residence is subordinate to the County’s tax lien under both Florida and federal law. The

  County, in its capacity as tax collector, holds a “first lien, superior to all other liens” upon the

  property described in the Complaint as the Stone Residence.          See § 197.122(1), Fla. Stat.

  Moreover, under federal law, the Internal Revenue Service’s liens do not prime local governmental

  liens for taxes or special assessments when such liens are entitled to priority under local law.

  26 U.S.C. § 6323(b)(6).

         WHEREFORE, the County takes no position as to the United States’ entitlement to relief

  against any other party, but regardless of the outcome of this case, the County requests that its

  statutory lien priority be preserved.


  Dated: May 3, 2021                                   Respectfully Submitted,

                                                       Andrew J. Meyers
                                                       Broward County Attorney
                                                       115 South Andrews Avenue, Suite 423
                                                       Fort Lauderdale, Florida 33301
                                                       Telephone: (954) 357-7600
                                                       Facsimile: (954) 357-7641

                                                       By: s/ Scott Andron
                                                       Scott Andron, Fla. Bar No. 112355
                                                       sandron@broward.org
                                                       Counsel for Broward County



                                                   9
Case 0:21-cv-60825-RAR Document 5 Entered on FLSD Docket 05/03/2021 Page 10 of 10




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed on May 3,

  2021, and that service was performed via an email generated by the by the CM/ECF system to all

  counsel of record listed in the below Service List.


                                                        By: s/ Scott Andron
                                                        Scott Andron, Fla. Bar No. 112355

                                           SERVICE LIST

  Christopher J. Coulson
  Trail Attorney, Tax Division
  U.S. Department of Justice
  Post Office Box 14198
  Ben Franklin Station
  Washington, D.C. 29944
  Telephone: (202) 353-0061
  Email: Christopher.J.Coulson@usdoj.gov
  Attorney for Plaintiff




                                                  10
